
142 F.Supp.2d 1029 (2001)
In re: Angelo AMARANTO
Angelo Amaranto
v.
Daniel Garcia
No. 3:00CV1949 (AWT).
United States District Court, D. Connecticut.
May 9, 2001.

JUDGMENT
This matter came on for consideration of the notice of appeal of the bankruptcy court's ruling of September 13, 2000 before the Honorable Alvin W. Thompson, United States District Judge, and
The court having considered the full record of this case and the applicable principles of law, and having entered an endorsement order dismissing the appeal for failure to respond as instructed on April 10, 2001, it is hereby
ORDERED, ADJUDGED and DECREED that judgment enter for the appellee, Daniel Garcia, and the appeal is hereby dismissed.
